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                     UNITED STATES COURT OF APPEALS                     FILED
                              FOR THE NINTH CIRCUIT                       APR 1 2025
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
STATE OF NEBRASKA; et al.,                      No.   23-15179

                Plaintiffs-Appellants,          D.C. No. 2:22-cv-00213-JJT
                                                District of Arizona,
and                                             Phoenix

STATE OF ARIZONA; MARK                          ORDER
BRNOVICH, Attorney General, in his
official capacity as Attorney General of
Arizona,

                Plaintiffs,

 v.

LORI CHAVEZ-DEREMER, in her official
capacity as U.S. Secretary of Labor; et al.,

                Defendants-Appellees.

Before: R. NELSON, FORREST, and SANCHEZ, Circuit Judges.

      The motion for supplemental briefing on the petition for rehearing en banc

(Dkt. 90) is GRANTED. The parties are directed to inform the court once the

Department of Labor’s implementing rule has been formally rescinded, at which

point the court will set a briefing schedule.
